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 6
 7    Attorney for Plaintiff, Demetrious Polychron
 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
11     DEMETRIOUS POLYCHRON                          Case No.: 2:23-cv-02831-SVW-E
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                               Plaintiff,            DEFENDANT’S UNOPPOSED
14                                                   MOTION TO CONTINUE
                                                     HEARING ON MOTION FOR
15
                                                     ATTORNEYS’ FEES
             vs.
16
                                                     Date: October 16, 2023
17                                                   Time: 1:30 p.m.
18     JEFF BEZOS, et al.,                           Dept.: 10A

19                             Defendants.
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         DEFENDANT’S NOTICE OF UNOPPOSED MOTION AND MOTION TO CONTINUE
                                    HEARING
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 1          TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that Plaintiff hereby moves this Court for an order
 3    continuing the hearing on Defendants’ Motion for Attorneys’ Fees currently set on
 4    October 16, 2023, at 1:30 p.m.
 5          This motion is based on this notice of motion, the declaration of Katie Charleston,
 6    and all other matters of which this Court may take judicial notice, the pleadings, files,
 7    and records in this action, and on any argument heard by this Court.
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            This notice is made following the undersigned’s request for stipulation to continue
 9
      sent to Defendants’ counsel on September 20, 2023.
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            Dated: September 22, 2023                    Respectfully submitted,
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                                                         Katie Charleston Law, PC
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                                                  By:    /s/ Katie Charleston
14                                                       Katie Charleston, Esq.
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         DEFENDANT’S NOTICE OF UNOPPOSED MOTION AND MOTION TO CONTINUE
                                    HEARING
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 1          Katie Charleston, of Katie Charleston Law, PC, respectfully requests the Court
 2    continue the hearing on Defendants’ Motion for Attorneys’ Fees currently set on October
 3    16, 2023, at 1:30 p.m., and in support thereof states:
 4           1.    On August 31, 2023, the undersigned filed a motion to withdraw from this
 5    matter due to the breakdown of the attorney-client relationship and the failure of the
 6    Plaintiff to make payments for services rendered, thereby causing a financial hardship.
 7    (Katie Charleston Decl. at ¶ 2, filed contemporaneously herewith).
 8           2.    To date, the Court has not issued an order. The Motion remains set for hearing
 9    on October 2, 2023. (Charleston Decl. at ¶ 3).
10           3.    On September 8, 2023, Defense counsel filed their motion for attorneys’ fees,
11    currently set for October 16, 2023. (Charleston Decl. at ¶ 4).
12           4.    Plaintiff’s opposition to this motion is due on September 25, 2023.
13    (Charleston Decl. at ¶ 5).
14           5.    The undersigned seeks a continuance on the hearing as set and the Plaintiff’s
15    time to respond for 30 days, following the Court’s ruling on the undersigned’s motion to
16    withdraw. (Charleston Decl. at ¶ 6).
17           6.    The undersigned cannot continue to represent the interests of Plaintiff due to
18    the breakdown of the attorney-client relationship and the financial hardship that Plaintiff’s
19    counsel has and will continue to suffer in further representation. (Charleston Decl. at ¶ 7).
20           7.    The undersigned seeks to protect the Plaintiff’s interests and his ability to
21    defend the filed motion pro se or with the assistance of another attorney. (Charleston Decl.
22    at ¶ 8).
23           8.    Defendants counsel was contacted regarding this continuance, and they have
24    no objection. (Charleston Decl. at ¶ 9).
25           9.    For these reasons, the undersigned requests a continuance of the hearing on
26    the Defendants’ Motion for Attorney fees and the Plaintiff’s time to respond. (Charleston
27    Decl. at ¶ 10).
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          DEFENDANT’S NOTICE OF UNOPPOSED MOTION AND MOTION TO CONTINUE
                                     HEARING
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 1          WHEREFORE, Katie Charleston respectfully requests the Court enter an order
 2    continuing the hearing on Defendants’ Motion for Attorneys’ Fees, and for all other
 3    proper relief.
 4          Dated: September 22, 2023                Respectfully submitted,
 5                                                   Katie Charleston Law, PC
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 7                                             By:   /s/ Katie Charleston
                                                     Katie Charleston, Esq.
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         DEFENDANT’S NOTICE OF UNOPPOSED MOTION AND MOTION TO CONTINUE
                                    HEARING
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